Case 2:08-cr-02042-EFS   ECF No. 151   filed 02/18/09   PageID.571 Page 1 of 6
                 Case 2:08-cr-02042-EFS                  ECF No. 151            filed 02/18/09       PageID.572 Page 2 of 6
AO 245B       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2   of   6
DEFENDANT: Raul Cardenas
CASE NUMBER: 2:08CR02042-001


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:    30 month(s)

 (24 months with respect to Count 2 and 24 months with respect to Count 4; 18 months of which are to be served concurrently with each
 other and the remaining 6 months on Count 4 are to be served consecutively to Count 2 for a total term of imprisonment of 30 months.)
 Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

     ✔ The court makes the following recommendations to the Bureau of Prisons:
     G
 Court recommends placement of defendant in the BOP Facility at Sheridan, Oregon for placement in a BOP approved 500 hour substance
 abuse treatment program.
 Defendant shall participate in the BOP Inmate Financial Responsibility Program.

     G The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
          G     at                                     G a.m.     G p.m.         on                                         .

          G     as notified by the United States Marshal.

     ✔ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     G
          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          ✔ as notified by the Probation or Pretrial Services Office.
          G

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
Case 2:08-cr-02042-EFS   ECF No. 151   filed 02/18/09   PageID.573 Page 3 of 6
Case 2:08-cr-02042-EFS   ECF No. 151   filed 02/18/09   PageID.574 Page 4 of 6
Case 2:08-cr-02042-EFS   ECF No. 151   filed 02/18/09   PageID.575 Page 5 of 6
Case 2:08-cr-02042-EFS   ECF No. 151   filed 02/18/09   PageID.576 Page 6 of 6
